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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
JPL                                                271 Cadman Plaza East
F. #2018R00035                                     Brooklyn, New York 11201



                                                   March 28, 2023

By ECF

The Honorable Margo K. Brodie
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Steven Nerayoff
                     Criminal Docket No. 20-008 (MKB)

Dear Judge Brodie:

               The government writes in connection with the defendant Steven Nerayoff’s
March 28, 2023 motion to vacate the protective order and amend the indictment in this case, ECF
Dkt. No. 117, and respectfully requests until April 10, 2023 to file a response. The defendant
would then have until April 17, 2023 to file a reply. The government understands that the
defendant does not object to this scheduling request.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                           By:                  /s/
                                                   Jonathan P. Lax
                                                   Assistant U.S. Attorney
                                                   (718) 254-6139
